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                Exhibit 8
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1                        UNITED STATES DISTRICT COURT

2                       SOUTHERN DISTRICT OF NEW YORK

3      X-------------------------------X

4      H. CHRISTINA CHEN-OSTER,                  :

5      SHANNA ORLICH; ALLISON GAMBA;             :     NO. 10-cv-6950-AT-RWL

6      and MARY DE LUI                           :

7                  Plaintiffs,                   :

8       vs.                                      :

9      GOLDMAN SACHS & CO. and THE               :

10     GOLDMAN SACHS GROUP, INC.,                :

11                 Defendants.                   :

12     X-------------------------------X

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14

15      CIVIL ACTION VIDEOTAPED DEPOSITION OF: ERIKA IRISH BROWN

16

17             C O M P U T E R I Z E D           T R A N S C R I P T

18     of the stenographic notes of the proceedings in the

19     above-entitled matter as taken by and before Rosalie A.

20     Kramm, Certified Shorthand Reporter No. 5469, Certified

21     Realtime Reporter, taken remotely on November 13, 2020,

22     commencing at 10:06 a.m.

23

24     Job No. 4335629

25     Pages 1-165

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1      firm to ensure that happens.    We have conducted an             14:33:02

2      analysis that shows women at the firm on average make 99         14:33:02

3      percent of what men earn."                                       14:33:02

4                Have you seen a statement like this before?            14:33:17

5           A.   I have seen this statement from this report            14:33:21

6      referenced, yes.                                                 14:33:27

7           Q.   Where have you seen it?                                14:33:28

8           A.   I've seen it referenced in talking points when         14:33:32

9      we released the following year's gender pay equity --            14:33:38

10     gender pay -- sorry -- gender pay gap report in the U.K.         14:33:42

11          Q.   Do you know what the basis is for the 99               14:33:56

12     percent figure?                                                  14:33:58

13          A.   It is my understanding -- again, this all              14:34:03

14     predates me.   So based on what I have been told, it is my       14:34:06

15     understanding that the compensation team did an actual           14:34:12

16     pay equity like-for-like review, and that was the                14:34:16

17     conclusion they drew.                                            14:34:22

18          Q.   When did the compensation team do this?                14:34:33

19          A.   According to what's written in the report it           14:34:38

20     was in 2017.   I don't know when.    I wasn't even thinking      14:34:40

21     about Goldman Sachs in 2017.                                     14:34:43

22          Q.   Is it your understanding that the pay equity           14:34:47

23     team does this review annually?                                  14:34:52

24          A.   Part of our compensation team's processes is           14:34:55

25     exactly what it says in the document.      Each year there is    14:34:58

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1      a review done between men and women in similar roles with     14:35:13

2      similar performance, as it says in the document.              14:35:18

3            Q.   During your time at Goldman Sachs, who on the      14:35:24

4      pay equity team specifically has conducted this analysis?     14:35:28

5            A.   On the compensation team?                          14:35:34

6            Q.   Let me reask the question.                         14:35:37

7                 During your time at Goldman Sachs, who on the      14:35:39

8      compensation team specifically has conducted this annual      14:35:42

9      pay equity analysis?                                          14:35:46

10           A.   I do not know the individual names of who does     14:35:48

11     it.                                                           14:35:52

12           Q.   Do you recall any individual names of              14:35:57

13     individuals involved in this analysis?                        14:35:59

14           A.   I engaged with the heads of compensation, and      14:36:02

15     they managed their teams.                                     14:36:06

16           Q.   Who are they?                                      14:36:08

17           A.   Scott Mehling and Michael Perloff.                 14:36:10

18           Q.   When did you first become aware of the annual      14:36:20

19     pay equity analysis conducted by the compensation team?       14:36:32

20           A.   I guess it would have been when -- you know, as    14:36:46

21     I on-boarded, I met with every functional head and talked     14:36:48

22     about their processes, and where the -- you know, what        14:36:52

23     was the diversity lens, if any, that I should be aware of     14:36:58

24     in terms of their processes.                                  14:37:02

25                So that, I believe, would have been the first      14:37:04

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1      time that it came up in conversation.                              14:37:07

2           Q.    Have you seen the analyses for any year?                14:37:11

3           A.    No.                                                     14:37:17

4           Q.    Do you have any opinion about whether the               14:37:22

5      analyses conducted are valid?                                      14:37:24

6                 MS. OSTRAGER:    Object to the form.                    14:37:30

7                 THE WITNESS:    I -- I think we have a really           14:37:34

8      strong compensation team, and I have a lot of faith in             14:37:37

9      the senior leadership on that team, and have no reason to          14:37:44

10     believe otherwise.                                                 14:37:48

11     BY MR. LEVIN-GESUNDHEIT:                                           14:37:49

12          Q.    What is your basis for -- do you have any               14:37:54

13     independent basis to verify the validity of the pay                14:37:59

14     equity analyses?                                                   14:38:04

15                MS. OSTRAGER:    Object to the form.                    14:38:07

16                THE WITNESS:    I do not do any independent work        14:38:11

17     on that, no.                                                       14:38:13

18     BY MR. LEVIN-GESUNDHEIT:                                           14:38:16

19          Q.    Have you asked any questions of the                     14:38:28

20     compensation team regarding how it conducts its analysis?          14:38:30

21          A.    I mean as I mentioned, in my on-boarding they           14:38:39

22     walked me through the analysis and their processes.        So I    14:38:43

23     think that was inclusive of how they approached the                14:38:52

24     process.                                                           14:38:55

25          Q.    Did you ask any questions about how the process         14:38:59

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1           A.    I mean, like, a -- you know, second-year                  14:40:30

2      associate in banking versus a senior associate in                    14:40:34

3      banking.                                                             14:40:38

4           Q.    Have you seen any documents explaining the 99             14:40:53

5      percent figure in any greater detail than what we've                 14:40:56

6      looked at right now?                                                 14:40:59

7           A.    No.                                                       14:41:00

8           Q.    Have you seen any documents explaining the                14:41:19

9      methodology underlying the pay equity analyses?                      14:41:21

10          A.    No.                                                       14:41:29

11                MS. OSTRAGER:    Objection.     Asked and answered.       14:41:30

12     BY MR. LEVIN-GESUNDHEIT:                                             14:41:31

13          Q.    Have you ever asked for any writings describing           14:42:06

14     the pay equity analysis -- analyses?                                 14:42:11

15                MS. OSTRAGER:    Object to the form.        Objection,    14:42:14

16     asked and answered.                                                  14:42:16

17                THE WITNESS:    No.                                       14:42:21

18     BY MR. LEVIN-GESUNDHEIT:                                             14:42:22

19          Q.    You can answer the question.                              14:42:43

20          A.    I did.   I said, no.                                      14:42:45

21          Q.    Oh, okay.                                                 14:42:47

22                Are you aware of the methods by which the 99              14:42:55

23     percent figure has been disseminated within Goldman                  14:43:01

24     Sachs?                                                               14:43:04

25                MS. OSTRAGER:    Object to the form.                      14:43:07

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1                 THE WITNESS:     Again, it was done before I        14:43:11

2      arrived.   It was clearly published in a public report         14:43:12

3      that's also shared with the firm.        You know, when we     14:43:18

4      publish the sustainability reports, it is distributed all      14:43:21

5      throughout the firm.      So those are the only fact-based     14:43:24

6      answers I can offer.                                           14:43:30

7      BY MR. LEVIN-GESUNDHEIT:                                       14:43:33

8           Q.    Did you participate in any discussions with         14:43:42

9      Goldman Sachs regarding pay equity during your time at         14:43:44

10     Goldman Sachs?                                                 14:43:48

11                MS. OSTRAGER:     Object to the form; objection,    14:43:50

12     vague.                                                         14:43:53

13                THE WITNESS:     So in regards to pay equity,       14:43:57

14     other than the conversations that we referenced, no.           14:44:05

15     BY MR. LEVIN-GESUNDHEIT:                                       14:44:11

16          Q.    Have you led any round tables at Goldman Sachs      14:44:15

17     regarding pay equity?                                          14:44:19

18          A.    No.                                                 14:44:23

19          Q.    Have you participated in any discussions with       14:44:25

20     employees at Goldman Sachs regarding pay equity?               14:44:27

21          A.    Pay equity, no.                                     14:44:32

22          Q.    Have you participated in any discussions with       14:44:34

23     employees at Goldman Sachs regarding the U.K. gender pay       14:44:37

24     disclosure?                                                    14:44:43

25          A.    Yes.   I've had conversations with -- about the     14:44:44

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1      gender pay gap, yes.                                              14:44:48

2           Q.     Within those conversations about the gender pay       14:44:50

3      gap, has Goldman's pay equity analysis been referenced?           14:44:54

4                  MS. OSTRAGER:    Object to the form.                  14:45:05

5      BY MR. LEVIN-GESUNDHEIT:                                          14:45:06

6           Q.     I don't know that your answer ended up on the         14:45:11

7      record.                                                           14:45:13

8           A.     Yes.                                                  14:45:15

9           Q.     Did the 99 percent figure come up in any of           14:45:20

10     those discussions?                                                14:45:23

11          A.     Yes.                                                  14:45:30

12          Q.     Can you please tell me about each of those            14:45:33

13     discussions in which the 99 percent figure came up.       What    14:45:35

14     is the first of those discussions you recall?                     14:45:38

15                 MS. OSTRAGER:    Object to the form.                  14:45:41

16                 THE WITNESS:    As I mentioned, we had talking        14:45:46

17     points that were shared based on a foot -- you know,              14:45:49

18     footnoted based on the 2017 sustainability report.                14:45:54

19                 I cannot recall every round table, when it did        14:45:58

20     or didn't come up, but it was a talking point, and one            14:46:01

21     that I know that I used, so I said, yes, but to tell you          14:46:05

22     that in this round table I did versus that round table in         14:46:09

23     sharing the -- the gender pay gap information, I cannot           14:46:12

24     tell you.                                                         14:46:18

25     //

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1      BY MR. LEVIN-GESUNDHEIT:                                              14:46:20

2             Q.   Can you recall any audiences for which you used           14:46:21

3      the 99 percent figure as a talking point?                             14:46:25

4                  MS. OSTRAGER:    Objection.     Asked and answered.       14:46:32

5                  THE WITNESS:    No.   It's the same question.       We    14:46:34

6      had forums to hear that we were publishing the gender pay             14:46:38

7      gap.    And I may have used it as a talking point.          It was    14:46:44

8      a talking point.    I don't -- I can't tell you that I used           14:46:52

9      it with one group versus another.         I don't recall.             14:46:56

10     BY MR. LEVIN-GESUNDHEIT:                                              14:46:59

11            Q.   Did you ever discuss with employees of Goldman            14:47:09

12     Sachs Goldman's methodology for its pay equity analyses?              14:47:11

13                 MS. OSTRAGER:    Object to the form; objection,           14:47:22

14     asked and answered.                                                   14:47:24

15                 THE WITNESS:    Not in great detail.        But I have    14:47:30

16     described the difference between doing a pay equity                   14:47:33

17     analysis versus a gender pay gap calculation.                         14:47:37

18     BY MR. LEVIN-GESUNDHEIT:                                              14:47:42

19            Q.   To whom have you conveyed that?                           14:47:42

20            A.   The same groups of senior women and HR                    14:47:45

21     colleagues as we were preparing to release the new data.              14:47:53

22            Q.   What specifically have you described regarding            14:48:15

23     Goldman's pay equity analyses to those groups?                        14:48:17

24            A.   Other than the same talking point that we've              14:48:25

25     been talking about from the 2017 sustainability report,               14:48:28

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1       nothing.                                                              14:48:31

2               Q.   Do you recall preparing David Solomon for a              14:48:48

3       meeting with Representatives Waters and Meeks in January              14:48:52

4       2019?                                                                 14:48:56

5                    MS. OSTRAGER:    Objection to the form and the           14:49:00

6       time period and the relevance.                                        14:49:03

7                    THE WITNESS:    The government relations team            14:49:09

8       provides briefings to meet with members of Congress.            We    14:49:11

9       shared diversity talking points.                                      14:49:17

10                   I don't recall that specific meeting, but it's           14:49:19

11      highly likely we could have shared our, you know,                     14:49:24

12      diversity talking points.                                             14:49:30

13                   And, again, it would not have been me in the             14:49:33

14      room prepping him, but we give input into -- you know, we             14:49:35

15      give input all the time into different briefings, and if              14:49:41

16      there is a diversity -- if there are diversity questions,             14:49:44

17      we provide talking points.                                            14:49:46

18                   MR. LEVIN-GESUNDHEIT:      I'd like to introduce         14:50:07

19      another exhibit.                                                      14:50:08

20                   (Exhibit 116 was marked for identification.)             14:50:09

21      BY MR. LEVIN-GESUNDHEIT:                                              14:50:26

22              Q.   Before I introduce this exhibit, do you recall           14:50:34

23      receiving any information summarizing David Solomon's                 14:50:42

24      meeting with Representatives Waters and Meeks?                        14:50:48

25              A.   I don't really remember that specific meeting,           14:50:58

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1       no.                                                                 14:51:00

2              Q.   Would you expect that notes would have been             14:51:04

3       taken summarizing the meeting?                                      14:51:05

4              A.   Was this, like a one -- two-on-one meeting?             14:51:12

5       Was this part of -- I mean he testified in front of the             14:51:17

6       whole financial services committee.          I'm just not sure      14:51:20

7       what meeting you're talking about.                                  14:51:22

8              Q.   Okay.     Well, if you don't -- if you're not           14:51:26

9       aware of the meeting or -- I -- I'll come back to it in             14:51:28

10      just a second.      So I'm introducing Exhibit 116.                 14:51:32

11             A.   Uh-huh.                                                 14:51:37

12             Q.   This -- this is a document entitled, "Diversity         14:51:43

13      Talking Points," September 17th, 2018.           It was attached    14:51:47

14      to an email that you have, and I can show you that, but             14:51:52

15      just looking at this document, does it seem familiar to             14:51:55

16      you?                                                                14:51:58

17             A.   This looks like talking points my -- my team            14:52:01

18      would have prepared.       Absolutely.                              14:52:05

19                  MR. LEVIN-GESUNDHEIT:        Okay.   So I'm going to    14:52:07

20      introduce the next exhibit.       This is Exhibit 117.              14:52:10

21                  (Exhibit 117 was marked for identification.)            14:52:16

22      BY MR. LEVIN-GESUNDHEIT:                                            14:52:47

23             Q.   So this is an email that you received,                  14:52:47

24      January 7th, 2019.       And it's from Joyce Brayboy.               14:52:49

25             A.   Uh-huh.                                                 14:53:06

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1       company conducted such an audit.          And no, if it didn't.       15:36:54

2       Do we agree about that?                                               15:36:59

3            A.      Yes.                                                     15:37:02

4            Q.      So the next two columns with a black box around          15:37:03

5       them, the first is for data as of 2018 fiscal year-end,               15:37:07

6       and the next is for data as of 2017 fiscal year-end.                  15:37:13

7                    Goldman answered "Yes" to both of these                  15:37:18

8       questions.     Do we agree?                                           15:37:21

9            A.      Yes.                                                     15:37:22

10           Q.      What equal pay audit is Goldman referencing in           15:37:23

11      answering "Yes" to this question?                                     15:37:32

12                   MS. OSTRAGER:     Object to the form.                    15:37:38

13                   THE WITNESS:     Our basis for answering that            15:37:39

14      question was the same basis that I shared with you in                 15:37:42

15      terms of the work of our compensation team, everything                15:37:44

16      was done by the compensation team.                                    15:37:51

17      BY MR. LEVIN-GESUNDHEIT:                                              15:37:54

18           Q.      This is a reference -- is this a reference to            15:37:59

19      the annual pay equity review?                                         15:38:00

20           A.      Our compensation team during the annual                  15:38:08

21      compensation process does this review.           That's what we've    15:38:11

22      discussed previously, and that is what our answer                     15:38:16

23      reflects as our compensation team being the internal                  15:38:19

24      party that looks at pay equity as part of the process.                15:38:24

25           Q.      Is this the same pay equity review that                  15:38:32

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1       determined that women were paid 99 percent of men in                  15:38:34

2       2017?                                                                 15:38:40

3               A.   This is the annual process.        So the 2017 review    15:38:44

4       was a specific effort outside of the annual process.                  15:38:51

5       Again, it predates me.        I don't want to misspeak.     But       15:38:58

6       every year our compensation team looks at pay equity as               15:39:01

7       part of the compensation process.                                     15:39:05

8               Q.   So to clarify, was the 2017 effort undertaken            15:39:33

9       again in any subsequent years?                                        15:39:37

10                   MS. OSTRAGER:     Objection.     Asked and answered.     15:39:40

11                   THE WITNESS:     Not to my knowledge.                    15:39:45

12      BY MR. LEVIN-GESUNDHEIT:                                              15:39:49

13              Q.   And the 2017 effort is the basis of the 99               15:39:57

14      percent figure that we've been discussing earlier.                    15:40:00

15              A.   Yes.                                                     15:40:04

16              Q.   And the answers here for the -- to Bloomberg,            15:40:22

17      the "Yes" provided in 2017, does that refer to this 2017              15:40:25

18      effort we've been describing that ended up with the 99                15:40:35

19      percent figure, or was it something else?                             15:40:38

20                   MS. OSTRAGER:     Object to the form; objection,         15:40:41

21      asked and answered.                                                   15:40:42

22                   THE WITNESS:     Every year in the compensation          15:40:45

23      process we look at pay equity.         The compensation team          15:40:47

24      looks at pay equity.        So that is part of the process.           15:40:53

25      //

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1                            REPORTER'S CERTIFICATE

2

3                   I, Rosalie A. Kramm, Certified Shorthand

4       Reporter for the State of California, do hereby certify:

5                   That the witness named in the foregoing

6       deposition was by me duly sworn; that the deposition was

7       then taken before me at the time and place herein set

8       forth; that the testimony and proceedings were reported

9       stenographically by me and were transcribed through

10      computerized transcription by me; that the foregoing is a

11      true record of the testimony and proceedings taken at

12      that time; and that I am not interested in the event of

13      the action.

14                  Witness my hand dated November 17, 2020.

15

16

17

18

19                              <%18769,Signature%>

20                            ROSALIE A. KRAMM

21                            CSR 5469, RPR, CRR

22

23

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25

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